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                                                         ESCROW ACCOUNT HISTORY
  This is a statement of actual activity in your escrow account from September 2010 to October 2013. This history compares the projections from
  your last escrow analysis or initial disclosure and the actual activity in your account. If a prior escrow analysis was not conducted during this
  historical period, the projected escrow balance will be zero.


                                                ACTUAL ESCROW ACCOUNT HISTORY
                     Payments to Escrow                Payments from Escrow               Description                            Escrow Balance

                   Projected          Actual          Projected           Actual                                            Projected           Actual
Beginning
Balance                                                                                                                                     $-8,090.04
Date
09/01/10              586.93             0.00 *             0.00            0.00                                            -7,503.11        -8,090.04
10/01/10              586.93             0.00 *             0.00            0.00                                            -6,916.18        -8,090.04
10/06/10                0.00             0.00               0.00        3,493.75 * FP FLOOD INSURANCE                       -6,916.18       -11,583.79
11/01/10            1,751.35             0.00 *             0.00            0.00                                            -5,164.83       -11,583.79
11/09/10                0.00             0.00               0.00        2,124.20 * COUNTY PROPERTY TAX                      -5,164.83       -13,707.99
11/30/10                0.00             0.00           1,954.00            0.00* COUNTY PROPERTY TAX                       -7,118.83       -13,707.99
12/01/10            1,751.35             0.00 *             0.00            0.00                                            -5,367.48       -13,707.99
01/01/11            1,751.35             0.00 *             0.00            0.00                                            -3,616.13       -13,707.99
02/01/11            1,751.35             0.00 *             0.00            0.00                                            -1,864.78       -13,707.99
03/01/11            1,751.35             0.00 *             0.00            0.00                                              -113.43       -13,707.99
04/01/11            1,751.35             0.00 *             0.00            0.00                                             1,637.92       -13,707.99
05/01/11            1,751.35             0.00 *             0.00            0.00                                             3,389.27       -13,707.99
05/25/11                0.00             0.00               0.00        6,820.00 * INSURANCE                                 3,389.27       -20,527.99
06/01/11            1,751.35             0.00 *             0.00            0.00                                             5,140.62       -20,527.99
06/21/11                0.00             0.00           6,317.00            0.00* HAZARD INSURANCE                          -1,176.38       -20,527.99
07/01/11            1,751.35             0.00 *             0.00            0.00                                               574.97       -20,527.99
08/01/11            1,751.35             0.00 *         2,304.00            0.00* FLOOD FORCED PLACED                           22.32       -20,527.99
08/23/11                0.00             0.00               0.00        1,754.83 * LP FLOOD INSURANCE                           22.32       -22,282.82
09/01/11            1,751.35             0.00 *             0.00            0.00                                             1,773.67       -22,282.82
10/01/11            1,751.35             0.00 *             0.00            0.00                                             3,525.02       -22,282.82
11/01/11            1,751.35             0.00 *             0.00            0.00                                             5,276.37       -22,282.82
11/09/11                0.00             0.00               0.00        2,064.55 * COUNTY PROPERTY TAX                       5,276.37       -24,347.37
12/01/11            1,751.35             0.00 *             0.00            0.00                                             7,027.72       -24,347.37
01/01/12            1,751.35             0.00 *             0.00            0.00                                             8,779.07       -24,347.37
02/01/12            1,751.35             0.00 *             0.00            0.00                                            10,530.42       -24,347.37
03/01/12            1,751.35             0.00 *             0.00            0.00                                            12,281.77       -24,347.37
03/26/12                0 00             0 00               0 00        1 735 72 * FP FLOOD IN URANCE                       12 281 77        26 083 09
04/01/12            1,751.35             0.00 *             0.00            0.00                                            14,033.12       -26,083.09
05/01/12            1,751.35             0.00 *             0.00            0.00                                            15,784.47       -26,083.09
05/23/12                0.00             0.00               0.00        8,698.00 * HAZARD INSURANCE                         15,784.47       -34,781.09
06/01/12            1,751.35             0.00 *             0.00            0.00                                            17,535.82       -34,781.09
07/01/12            1,751.35             0.00 *             0.00            0.00                                            19,287.17       -34,781.09
08/01/12            1,751.35             0.00 *             0.00            0.00                                            21,038.52       -34,781.09
08/14/12                0.00             0.00               0.00        1,759.60 * FP FLOOD INSURANCE                       21,038.52       -36,540.69
09/01/12            1,751.35             0.00 *             0.00            0.00                                            22,789.87       -36,540.69
10/01/12            1,751.35             0.00 *             0.00            0.00                                            24,541.22       -36,540.69
11/01/12            1,751.35             0.00 *             0.00            0.00                                            26,292.57       -36,540.69
11/09/12                0.00             0.00               0.00        2,123.07 * COUNTY PROPERTY TAX                      26,292.57       -38,663.76
12/01/12            1,751.35             0.00 *             0.00            0.00                                            28,043.92       -38,663.76
01/01/13            1,751.35             0.00 *             0.00            0.00                                            29,795.27       -38,663.76
02/01/13            1,751.35             0.00 *             0.00            0.00                                            31,546.62       -38,663.76
02/13/13                0.00             0.00               0.00        1,730.90 * FP FLOOD INSURANCE                       31,546.62       -40,394.66
03/01/13            1,751.35             0.00 *             0.00            0.00                                            33,297.97       -40,394.66
04/01/13            1,751.35             0.00 *             0.00            0.00                                            35,049.32       -40,394.66
05/01/13            1,751.35             0.00 *             0.00            0.00                                            36,800.67       -40,394.66
06/01/13            1,751.35             0.00 *             0.00            0.00                                            38,552.02       -40,394.66
07/01/13            1,751.35             0.00 *             0.00            0.00                                            40,303.37       -40,394.66
08/01/13            1,751.35             0.00 *             0.00            0.00                                            42,054.72       -40,394.66
08/14/13                0.00             0.00               0.00        1,759.60 * FP FLOOD INSURANCE                       42,054.72       -42,154.26
08/23/13                0.00             0.00               0.00        3,131.16 * FP HAZARD INSURANCE                      42,054.72       -45,285.42
09/01/13            1,751.35         1,751.35               0.00            0.00 EST:                                       43,806.07       -43,534.07
10/01/13            1,751.35         1,751.35               0.00            0.00 EST:                                       45,557.42       -41,782.72

Total             $64,222.46        $3,502.70        $10,575.00       $37,195.38
An asterisk (*) indicates a difference from a previous estimate either in the date or the amount.
NOTE – This analysis was prepared in advance of the escrow payment change date. Therefore, the projected beginning balance for the next 12
months estimates that you have paid all the required scheduled installments as shown in your actual account history and that all scheduled
disbursements have been made from your escrow account.




THIS COMMUNICATION IS FROM A DEBT COLLECTOR AS WE SOMETIMES ACT AS A DEBT COLLECTOR. WE ARE ATTEMPTING TO COLLECT A DEBT
AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR RECEIVED A BANKRUPTCY
DISCHARGE OF THIS DEBT, THIS LETTER IS NOT AN ATTEMPT TO COLLECT THE DEBT, BUT NOTICE OF POSSIBLE ENFORCEMENT OF OUR LIEN
AGAINST THE COLLATERAL PROPERTY. COLORADO: FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT, SEE
WWW.COLORADOATTORNEYGENERAL.GOV/CA. Seterus, Inc. maintains a local office at 355 Union Boulevard, Suite 250, Lakewood, CO 80228. The office’s phone
number is 888.738.5576. NEW YORK CITY: 1331537, 1340663, 1340148. TENNESSEE: This collection agency is licensed by the Collection Service Board of the
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